Case 2:19-cv-08917-SB-KS Document 32-7 Filed 02/11/21 Page 1 of 2 Page ID #:559




                       Exhibit 5
                        (Redacted)




                                 Exhibit 5
Case 2:19-cv-08917-SB-KS Document 32-7 Filed 02/11/21 Page 2 of 2 Page ID #:560



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            �NNEX 1:· P,roducts Cata1.ogue and Prices
                                                                                                                                                     fftro   FOO price
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                  Lf. ad_diJiQn;,il forelgo_langq:;ige labels are required, the labor cost is RMB 1.6 / box.
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                  In addition to Party 'A's-p�eferential policies, if the price needs to be ad justed, Party A must notify
                  Party Bin written form ·�1imonths in advance. Parties shall sign a supplementary agreement.
                  3. · , f:"A1i !fl' t'&rrff·,1nt.is'Wim,;irJJ�{JUsi&m.                                                          m Ef:l 1i5� �ilHrir.J�. :f i%"f �.J:.f;i;ittifl-
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                  pue tq preferent-ial ;poli�ies such as marketing promotion activities, the product price shall be
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                  adjusted b y Party: A �s :appropriate, not higher than the above price.
                  4: . 0.'}J:r-illii1t:fefi-°;i3%tr-Ji!/!Jif:i.f� •     :                          .. : I '�.•

                  _The ab911e prices do not i.nclude 13% VAT.
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